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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


WSOU INVESTMENTS LLC,                              §
           Plaintiff                               §
                                                   §        W-20-CV-00454-ADA
-v-                                                §        W-20-CV-00455-ADA
                                                   §        W-20-CV-00456-ADA
MICROSOFT CORPORATION,                             §        W-20-CV-00457-ADA
           Defendant                               §        W-20-CV-00458-ADA
                                                   §        W-20-CV-00459-ADA
                                                   §        W-20-CV-00460-ADA
                                                   §        W-20-CV-00461-ADA
                                                   §        W-20-CV-00462-ADA
                                                   §        W-20-CV-00463-ADA
                                                   §        W-20-CV-00464-ADA
                                                   §        W-20-CV-00465-ADA
                                                   §


                       ORDER APPOINTING TECHNICAL ADVISOR

         The Court hereby appoints Dr. Joshua J. Yi to serve as the Technical Advisor for the Court

in this case. Dr. Yi’s contact information is as follows:

                Dr. Joshua J. Yi
                8650 Spicewood Springs Road, Suite 145, #226
                Austin, TX 78759
                josh@joshuayipatentlaw.com

         Dr. Yi will assist the Court with technical issues related to the claim construction process

and advise the Court regarding preliminary and final claim constructions. Because a technical

advisor serves essentially as a law clerk to the Court and will be familiar with the claim

construction issues in this case, Dr. Yi may also assist the Court in drafting a claim construction

order.

         The parties are instructed to mail a paper copy of the claim construction briefs and a USB

drive with any exhibits and/or technology tutorials to the above address no later than at least 10

days before the claim construction hearing.
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       Finally, depending on the needs of the case, Dr. Yi may also assist the Court with motions

for summary judgment, Daubert motions, at trial, and with post-trial motions.



SIGNED this 1st day of February, 2021.




                                     ALAN D ALBRIGHT
                                     UNITED STATES DISTRICT JUDGE
